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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON                                :
SEPTEMBER 11, 2001                                         :        MDL 03-1570 (GBD)(SN)

This Document Relates To:

Havlish, et al. v. bin Laden, et al., Case No. 03-CV-09848
Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-CV-06977
Burnett, Sr., et al., v. Islamic Republic of Iran, Case No. 15-CV-9903
Burlingame, et al. v. bin Laden, et al., Case No. 02-CV-07230
Bauer, et al. v. al Qaeda Islamic Army, et al., Case No. 02-CV-07236
O’Neill, Sr., et al. v. Republic of Iraq, et al., Case No. 04-CV-1076
Federal Insurance Co., et al. v. al Qaida, et al., Case No. 03-CV-06978
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Dillaber, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-03162
Agyeman, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-05320
Morris, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-05321
Derubbio, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-05306
Schlissel, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-05331
Kamardinova, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-05339
Ades, et al. v. Islamic Republic of Iran, et al., Case No. 18-CV-07306

                               HAVLISH REPLY MEMORANDUM

        The Havlish Plaintiffs respectfully present this reply memorandum in support of their

renewed motion, pursuant to the Court’s inherent equitable powers, to enter an Order to create a

common benefit fund. It is important to note what Responding Plaintiffs (“RP’s”) do not

dispute: (1) While RP’s assert they could have gotten their judgments all on their own, the fact

is they did not. They do not dispute that they used, and exclusively relied on, evidence

developed and presented in Havlish v. bin Laden, et al., Case No. 03-CV-09848. (2) This MDL

has been pending for 15 years and to date the only substantial recoveries have been for

judgments against Iranian entities obtained in reliance on Havlish v. bin Laden, et al., Case No.

03-CV-09848. (3) Some of RP’s filed cases for thousands of new plaintiffs and obtained

judgments just in time to apply for, and obtain, compensation from the USVSST Fund; all of the

RP’s’ judgments were obtained in reliance on Havlish v. bin Laden, et al., Case No. 03-CV-

09848. It is anticipated that RP’s have or will recover in excess of $600,000,000 from the
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USVSST Fund. (4) The PEC objected to the efforts by Havlish counsel when they sought to

proceed to an evidentiary hearing to obtain the Havlish judgment against Iran. (5) RP’s admit

that Havlish Counsel “established a legal precedent that other plaintiffs relied on as res judicata

in obtaining default judgments against Iran.” PEC Mem. at 15. (6) The efforts of RP’s and the

PEC on the cases against Saudi Arabia have yielded no recoveries to date and may never. (7)

RP’s’ did not need to expend much time or effort to assist clients to apply for the USVSST Fund.

   I.       THIS MOTION IS NO LONGER PREMATURE

         The Court’s concern in the order of August 2, 2016 was that “it would be premature to

reach the merits of the motion because at this point the amount of effort Respondents will expend

to collect their award from Iran, and the sums, if any, that they will actually recover, would be

pure speculation.” (MDL Doc. No. 3322 at 1.) (Emphasis added.) We now know precisely the

amount of effort expended by RP’s to collect the judgments against Iran and related entities:

virtually none. RP’s relied exclusively on Havlish to obtain their judgments and then merely

filed claims with the USVSST Fund. The claim process itself is straightforward and not at all

onerous, and RP’s do not contend otherwise. What is required, essentially, is to submit an

application providing basic claimant information, amounts recovered from other sources, if any,

and notifications to family members. RP’s did not have to expend time or money to find Iranian

assets subject to collection, domesticate their judgments overseas, or litigate any collection case.

         The USVSST Fund notified eligible claimants in December 2018 and commenced

payments in January of this year. RP’s know precisely the amounts actually recovered. The

Court’s concerns as to recovery from the USVSST Fund have been completely resolved, and this

motion is ripe for resolution. The motion does not seek any award for recoveries not received,

only a set-aside of a portion of recoveries so that such future questions may be timely addressed.

         RP’s suggest the Court should wait until the entire MDL in completely wrapped up. The
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MDL, already fifteen years old, could go on for another ten or fifteen years, and collection

efforts could last far longer still. Yet, three of RP’s themselves – in their opposition to the

original motion three years ago – clearly identified the payout from the USVSST Fund to 9/11

families in their cases as exactly the right time to consider this motion:

         …. The regulations regarding compensation from the [USVSST] fund of seized
         assets have yet to be promulgated by the newly appointed Special Master Kenneth
         Feinberg. As the law currently reads, victims of Iranian terror who have recovered
         money from the 9/11 Victims Compensation Act (“VCF”) must wait until other
         Iranian terror judgments are satisfied from a limited fund and, in the end, could be
         unable to share at all in this fund. …. Hopefully, other developments will occur
         which will enable the 9/11 families and victims to recover on the basis of their
         judgments against Iran. Only at that time can this Court properly establish the value
         of the purported Havlish efforts and expenditures, if any, to the realization of an
         actual recovery from Iran, as compared to the actual contributions of others.

Three RP’s / PEC Members’ Mem. at 4-5, n.4. (May 5, 2016).

   II.      HAVLISH COUNSEL NEED NOT HAVE CREATED THE FUND TO BE ENTITLED
            TO COMMON BENEFITS FEES

         No rule of law or equity requires Havlish counsel to have secured the precise source of

collection. Rather, as made clear by the Supreme Court, it is the “common benefit” bestowed by

the efforts of Havlish counsel that is the touchstone of this matter.

         Whether one professes to sue representatively or formally makes a fund available for
         others may, of course, be a relevant circumstance in making the fund liable for his
         costs in producing it. But when such a fund is for all practical purposes created for
         the benefit of others, the formalities of the litigation — the absence of an avowed
         class suit or the creation of a fund, as it were, through stare decisis rather than
         through a decree — hardly touch the power of equity in doing justice as between a
         party and the beneficiaries of his litigation.

Sprague v. Ticonic Nat. Bank, 307 U.S. 161, 167 (1939).

         The distinction between “common fund” and “common benefit” is manifest: “MDL

courts have consistently cited the common fund doctrine as a basis for assessing common benefit

fees in favor of attorneys who render legal services beneficial to all MDL plaintiffs.” In re Vioxx

Prod. Liab. Litig., 760 F.Supp.2d 640, 647 (E.D. La. 2010) (emphasis added).
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           Thus, while the traditional “common fund doctrine” is the basis for the “common benefit

fees,” there is no requirement that the attorneys providing the common benefit also procure the

common fund. Indeed, common benefit fees have been imposed by a federal court MDL against

funds recovered in state court proceeding by an attorney who was not a signatory to the MDL fee

sharing agreement. In re Avandia Mktg. Sales Practices, 658 F.App'x 29, 33 (3d Cir. 2016).

           The RP’s note the Havlish motion requests a 12% set-aside rather than 8%, as requested

three years ago. Since then, it became clear that RP’s’ counsel had to do very little in order to

recover from the USVSST Fund on their Iran judgments. Moreover, the motion makes clear that

12% is cited as an appropriate level, but Havlish respects the Court’s “judgment to set the

appropriate percentage under the facts surrounding this matter.” Havlish Mem. at 5.1

    III.      THE HAVLISH BURDEN WAS CERTAINLY NOT DE MINIMIS

           RP’s attempt to minimize the effort necessary to obtain the Havlish judgment, suggesting

it could have been accomplished with minimal legal work because Havlish was litigating

“against no one,” or “against a single non-appearing defendant” and because the FSIA standard

is “lenient.” PEC Mem. at 1, 8-9. First, the FSIA standard is not lenient. It is different from the

usual civil standard because there is no appearing defendant, whose own evidence normally

would be placed on the balance scale. Instead, the law imposes an obligation to satisfy the court

with admissible evidence, which means plaintiffs’ burden is to convince the most discerning

lawyer in the courtroom – the judge.2 It is not knowable what quantum and quality of evidence

this Court would have accepted as satisfactory in the RP’s’ cases, but the Havlish attorneys never

took lightly the task of presenting the strong evidence that the Court should consider before

1
  RP’s note the USVSST law limits attorney fees to 25%. Even at 12%, more than half is left for the RP’s’
attorneys. The Havlish group has no knowledge whether 12% exceeds the contractual fee arrangement for any of
the RP’s’ attorneys, but RP’s are not specific and do not substantiate the point.
2
  Early in this case, before the creation of the MDL, Judge Robertson of the District of the District of Columbia
admonished all the plaintiffs, “don’t bring me intelligence, bring me evidence.”

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rendering one of the most significant decisions possible pertaining to the most devastating

terrorist attack in world history. We did not presume a de minimis showing would have sufficed.

Rather, we presumed the proper way to present such a momentous case, on both liability and

damages, was to present reliable, credible, and convincing hard evidence of facts, backed by

admissible testimony and buttressed by comprehensive expert analysis. The Havlish consortium

was not looking for “merely ‘Pyrrhic victories.’” RP’s Mem. at 5.3

         What differentiates Havlish from virtually every other terrorism lawsuit in history is that

the U.S. Government and its intelligence community did not provide the bulk of the evidence

against Iran on the central liability question. The 9/11 Commission traces some of the history of

Iran’s involvement in many of history’s most heinous attacks,4 but, the 9/11 Commission “found

no evidence that Iran or Hezbollah was aware of the planning for what later became the 9/11

attacks.” 9/11 REPORT at 241. Had the U.S. government provided any such evidence to the 9/11

Commission, that statement would not have been written. But as detailed in Philip Shenon’s

book, THE COMMISSION, and discussed in the Havlish briefs, the 9/11 Commission did not start

looking at the National Security Agency’s satellite intercepts until virtually the last minute – and

then literally held the presses for several days so that the section entitled “Assistance from

Hezbollah and Iran to al Qaeda” at pages 240-241 could be written and inserted in the 9/11

REPORT.5 The 9/11 Commission ended that passage with the following one-sentence paragraph:


3
  9/11 was the most important single world event in many decades and would define much about the decades to
come in America and throughout the world. It is often said that 9/11 changed everything. Finding the truth and
establishing accountability for 9/11 was not a Pyrrhic victory. Further, the Havlish consortium never intended to
demur on collection of a judgment in this case.
4
  These included the Marine Barracks and U.S. embassy bombings in 1983 and 1984 in Beirut, Lebanon, and the
Khobar Towers bombing in Saudi Arabia in 1996.
5
  Notably, too, the 9/11 Commission did not name the “senior Hezbollah operative,” although the Havlish evidence
established not only his identity but also the fact of his extensive and fundamental engagement in the 9/11 operation:
Imad Mugniyeh, the head of Hezbollah’s military wing and for many years the most dangerous, and most wanted,
terrorist in the world. Nor did the 9/11 REPORT present any substantive information about how the 9/11 operation
was actually designed. The Havlish investigation did.

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“We believe this topic requires further investigation by the U.S. government.” Id. Nothing is

publicly known of any such further investigation by the U.S. government, but a further

investigation was conducted, by the Havlish consortium.

        Conducting an international field investigation of the world’s preeminent state sponsor of

terror, its terror apparatus, and its terrorist proxy organization, is not the sort of de minimis effort

the RP’s suggest was all that was necessary to obtain a judgment. Havlish attorneys and their

investigative consultant undertook many international trips, some of them dangerous, and

produced thirty (30) hours of sworn videotaped testimony by four witnesses: three defectors

from the Iranian intelligence apparatus and the first president of the Islamic Republic of Iran.

The defectors also provided, and authenticated, valuable documentary evidence to back up their

testimony. None of that evidence was available publicly or possessed by the PEC (although they

do claim their “investigative consultant interview[ed]” interviewed one of the defectors. Three

RP’s / PEC Members’ Mem. at 22, n.18 (May 5, 2016).

        The evidence presented in Havlish was among the most comprehensive evidentiary

records ever entered in a terrorism case. Given the momentous underlying event, the nature of

the case cutting across the grain of conventional wisdom, and as the “further investigation”

envisioned by the 9/11 COMMISSION REPORT, as well as the historic findings of this Court, no

less was required. The RP’s’ assert they were “in possession of all necessary evidence and

proofs (in addition to having retained experts) to obtain a default judgment against Iran without

the need for Havlish counsel’s efforts,” RP’s Mem. at 7, but it is unknown whether their

unsubmitted evidence would have been satisfactory to the Court. Perhaps the RP’s could have,

and perhaps they would have, but the only known facts are they did not present anything of their

own, and, instead, the PEC tried to stop the Havlish attorneys from presenting their case.



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    IV.      THE PEC’S APPROVAL WAS NOT NECESSARY

          Although the PEC was empowered to “coordinate discovery and motion papers to the

extent practicable to promote judicial economy, avoid duplicative effort, and limit the burden on

parties responding to discovery,” RP’s Mem. at 17, the RP’s assert more: “Havlish counsel did

not obtain PEC approval before filing their motion for a default judgment against Iran.” Id. at

19. Nothing in this Court’s order required that; this Court was always clear that each set of

attorneys remained responsible for their own cases. Moreover, Havlish counsel’s efforts were

disclosed to the PEC in open court and were opposed by the PEC.6 The Court overruled the

PEC’s objections and allowed Havlish counsel to go forward.

          Further, Havlish counsel never created any problem for the PEC nor duplicated its

efforts. The Havlish evidence was partially comprised of open source material, but the vast

majority of it was not.7 In contrast, almost all of the evidence listed in the PEC’s brief three

years ago was books, magazine articles,8 and other open source material. The PEC hired an

Israeli expert, but only until 2006, to come up with supporting evidence. (The Havlish group

met with him as well, but did not retain him.) In sum, the PEC’s list of evidence does not come

close to the quantity or quality of the evidence that Havlish placed before the Court, and none of

it was ever seen or evaluated by the Court.

          The Havlish liability and damages efforts largely concerned proof for trial rather than the



6
  The RP’s’ assert the PEC did not oppose the Havlish effort to pursue default proceedings against Iran in 2010 and
2011. Anyone in the courtroom that day understood clearly that the PEC was doing exactly that. See Ex. 5 to
Havlish Mem. on Renewed Motion.
7
  The critically important thirty hours of testimony, with supporting exhibits, were clearly not open source, nor were
the significant sealed affidavits. Havlish also assembled an array of experts, several of whom viewed the testimony
and addressed the veracity and consistency of these firsthand witnesses. The experts included three members of the
9/11 Commission staff, two former CIA analysts, the foremost terrorism prosecutor in Europe, the preeminent
terrorism and intelligence investigative journalist in Israel, a former head of U.S. Interpol, and two of the most
widely respected Iran experts in the U.S.
8
  Among the PEC’s cited magazine articles are several by Kenneth Timmerman, an investigative journalist who was
the Havlish consortium’s retained expert/investigator for many years.

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sort of pretrial matters which would have been under the auspices of the PEC. There was no

discovery directed to Iran because neither none of the Iranian defendants appeared. The

activities of Havlish counsel were mostly aimed at investigation of the liability issues,

memorialization of admissible evidence, and development of methods to present proof of

damages. Upon all of this, the RP’s relied and all of it undeniably inured to their benefit.9

         The bottom line is that the PEC chose not to pursue actively their cases against Iran,

preferring to push those cases off for another day, or, rather, another year. Havlish counsel did

pursue the Iran case, and the results of those efforts greatly benefited RP’s. As for the activities

of the PEC chair holders, everyone on the PEC understood Havlish was pursuing the Iran

investigation and the rest of the PEC focused on Saudi Arabia. In fact, at the time, the Havlish

group had referred all of its clients to Burnett counsel to be represented in regard to claims

against the Saudis. The PEC stopped communicating with the Havlish chair holders altogether.

         The RP’s also make an issue of the In Re: 650 Fifth Avenue and Related Properties

proceedings. Those cases are collection matters beyond the scope of the MDL. Any plaintiff

with a timely judgment against Iran could have sought intervention in 650 Fifth Avenue. That

Havlish did so, and the RP’s did not because they lacked judgments is of no relevance to the

MDL or to this motion. The issue is the common benefit provided by Havlish counsel to enable

the RP’s to obtain their recent judgments against Iran which rendered them eligible to participate

in the USVSST Fund. What Havlish counsel did to collect in 650 Fifth Avenue, which began

years before most of the RP’s obtained their judgments, is wholly irrelevant.

    V.       HAVLISH HAS PROVIDED PROOF OF TIME AND EXPENSES

         The RP’s misstate the record in suggesting Havlish counsel has never provided the Court

9
  The RP’s denigrate the Havlish attorneys’ motives by asserting they abandoned their class allegations. RP’s Mem.
at 3. The class allegations were unnecessary because thousands of the potential class members were were
represented by counsel, and class proceedings would only have made the litigation more difficult and protracted.

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with justification for the time and expenses involved in procuring the proof to obtain the

judgments against the Iranian entities. Havlish counsel has provided the Court with evidence as

to the time and money spent through the affidavit of Thomas E. Mellon, Jr. (Havlish Doc. 301,

Ex M). Further, the ultimate proof is reflected in the extensive evidence, comprehensive briefs,

and elaborate Findings of Fact and Conclusions of Law that supported not only the Havlish

judgment, but all of the judgments obtained by the RP’s.

   VI.      RP’S MISCONSTRUE THE REMEDY SOUGHT

         Havlish counsel does not suggest they will be entitled to 100% of all funds set aside from

every future recovery. Rather, Havlish counsel requested the Court order 12% of any amounts

actually collected by RP’s on their Iran judgments be set aside. The only amounts Havlish

counsel requested be authorized for distribution now is the portion of monies being distributed to

RP’s during the current round of payments from the USVSST Fund. That is because the efforts

needed to obtain those funds is now fully known. Distributions of the 12% set-aside from future

recoveries would be subject to further order of the Court. Further, Havlish does not ask for any

set-aside or fee award from anyone who did not actually receive compensation. At issue at this

time are only the amounts the RP’s have or will receive from the USVSST Fund because of

advocacy by Havlish counsel. Yet, in fact, Havlish counsel was instrumental in preserving the

rights of a large number of RP’s to obtain the current and future USVSST payments.

   VII.     HAVLISH PRESERVED RP’S’ ABILITY TO SHARE IN THE USVSST FUND

         During the spring and summer of 2016, the USVSST Fund Special Master publicly stated

that he was going to deny payments to anyone who received money that emanated from the 9/11

Victims Compensation Fund (“VCF1”), regardless of amount and how they received it, including

inheritances from estates that received an award. The Special Master also said he intended to

offset USVSST Fund payments by any insurance proceeds resulting from 9/11 deaths and by any

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pension benefits triggered by a 9/11 death. On a nationwide town-hall style conference call,

Havlish counsel challenged the Special Master on these issues (and was the only attorney who

did so). See Ex. 1, Declaration of Timothy B. Fleming. The Special Master stuck to his position

and announced he intended to issue interpretations disqualifying those who inherited VCF1

money and setting off amounts collected on insurance policies and through pension benefits.

Havlish counsel then submitted detailed written comments setting forth why these

implementation decisions were contrary to the statute and congressional intent. Ex. 2, Public

Comments, June 29, 2016. Subsequently, the Special Master reversed position and implemented

regulations and interpretations embracing the Havlish position: he did not disqualify 9/11 family

members who inherited VCF1 money from estates as ineligible for USVSST Fund payments,

and, he decided not to offset insurance or pension proceeds. See http://www.usvsst.com/faq.php,

e.g., FAQ 4.8. The RP’s were not present to weigh in. Some Havlish judgment holders

benefited, but many more RP’s’ future USVSST Fund claims were thus preserved and protected.

       As stated above, the PEC argued to this Court three years ago that it was problematic

whether and when the 9/11 families would be entitled to recover from the USVSST Fund. See

pp. 3-4, supra. But the Havlish and Hoglan judgment holders blazed the trail for an actual

USVSST recovery for many such 9/11 families in 2016. Havlish counsel challenged the Special

Master’s interpretations that would have eliminated many 9/11 family members from USVSST

payments and created substantial offsets in the payments to others – and succeeded. If those

“other developments” had not occurred, the RP’s would not be sharing in, indeed receiving the

large majority share (60-65%) of the USVSST Fund 2019 payments. We are very glad that those

families are able to recover and are receiving their shares of the USVSST Fund. We only seek to

recover fair compensation for our part in making that happen.



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   VII.    CONCLUSION

       For the reasons set forth above, the Court should grant the Havlish motion and enter an

appropriate order.

Date: March 1, 2019                         /s/ Timothy B. Fleming
                                            Timothy B. Fleming (DC Bar No. 351114)
                                            WIGGINS CHILDS PANTAZIS
                                            FISHER GOLDFARB PLLC
                                            1211 Connecticut Avenue, NW, Suite 420
                                            Washington, DC 20036
                                            (202) 467-4489

                                            Dennis G. Pantazis (AL Bar No. ASB-2216-A59D)
                                            WIGGINS CHILDS PANTAZIS
                                            FISHER GOLDFARB LLC            (Lead Counsel)
                                            The Kress Building
                                            301 19th Street North
                                            Birmingham, AL 35203
                                            (205) 314-0500

                                            John A. Corr (PA Bar No. 52820)
                                            LAW OFFICE OF JOHN A. CORR
                                            301 Richard Way
                                            Collegeville, PA 19426
                                            (610) 482-4237

                                            Stephen A. Corr (PA Bar No. 65266)
                                            BEGLEY, CARLIN & MANDIO, LLP
                                            680 Middletown Boulevard
                                            Langhorne, PA 19047
                                            (215) 750-0110

                                            Richard D. Hailey (IN Bar No. 7375-49)
                                            Mary Beth Ramey (IN Bar No. 5876-49)
                                            RAMEY & HAILEY
                                            9333 North Meridian Street, Suite 105
                                            Indianapolis, IN 46260
                                            (317) 582-0000

                                            Robert M. Foote (IL Bar No. 03124325)
                                            Craig S. Meilke (IL Bar No. 03127485)
                                            FOOTE, MIELKE, CHAVEZ
                                             & O’NEIL, LLC
                                            10 West State Street, Suite 200
                                            Geneva, IL 60134
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                              (630) 232-7450

                              David C. Lee (TN Bar No. 015217)
                              422 South Gay Street, 3rd Floor
                              Knoxville, TN 37902
                              (865) 544-0101

                              Evan J. Yegelwel (FL Bar No. 319554)
                              TERRELL HOGAN ELLIS
                                YEGELWEL, P.A.
                              233 East Bay Street
                              Blackstone Building, 8th Floor
                              Jacksonville, FL 32202
                              (904) 632-2424

                              Edward H. Rubenstone (PA Bar No. 16542)
                              EDWARD H. RUBENSTONE, LLC
                              812 N. Fairway Rd.
                              Glenside, PA 19038
                              215-887-9786

                              Donald J. Winder (UT Bar No. 3519)
                              WINDER & COUNSEL, PC
                              175 West 200 South, Suite 4000
                              P.O. BOX 2668
                              Salt Lake City, UT 84110-2668
                              (801) 322-2222

                              Attorneys for the Havlish Plaintiffs




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